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                      EXHIBIT
                        A
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                          IN THE CIRCUIT COURT OF JEFFERSON COUNTY
                                      STATE OF MISSOURI

                                                           )
   DAN CREPPS,                                             )
   individually and on behalf of                           )       Case No. 19JE-CC00490
   all others similarly situated,                          )
                                                           )
            Plaintiffs,                                    )
                                                           )       JURY TRIAL DEMANDED
    v.                                                     )
                                                           )
    CONOPCO, INC., d/b/a UNILEVER,                         )
    DOES 1 through 10,                                     )
                                                           )
            Defendants.                                    )

                                FIRST AMENDED CLASS ACTION PETITION

         Plaintiff Dan Crepps, individually and on behalf of all others similarly situated, hereby files this,

his First Amended Class Action Petition, against Defendant Conopco, Inc., d/b/a

                                                                               deceptive marketing of their

products constituting, on a nationwide basis, breach of warranty, breach of implied contract, and unjust

enrichment, and, in the state of Missouri, violations of the Missouri Merchandising Practices Act, Mo.

Rev. Stat. chap. 40

                                    I.     INTRODUCTION

     1.         Defendant Unilever markets and sells many different consumer products, including

deodorant and antiperspirant sticks. One such product is Degree -branded, MotionSense

                  antiperspirant.

     2.         The       UltraClear Black + White     line of products is deceptively and misleadingly

marketed as

prevent white marks and staining; yet, in reality, the Ultraclear line of antiperspirant is nothing more

than a slightly diluted version of regular                     -

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containing essentially the same ingredients

staining.

     3.         Compared to the non- Ultraclear                          MotionSense,    Ultraclear

contain a single addition ingredient                                                       ; the only material

difference is                                                -                          Aluminum Zirconium

Tetrachlorohydrex GLY, is diluted from a concentration of 19.2% in D                             -

                                to 11.4%             Ultraclear

     4.         Yet even more problematic, it is well-

                  Ultraclear line of anti                             prevent           i- towards, are in fact

created and caused by that very same active ingredient, Aluminum Zirconium Tetrachlorohydrex GLY



     5.         Thus, in reality, while perhaps doing it to a slightly lesser extent than D               non-

 Ultraclear                             Ultraclear                                  causes the very problems

                                   pr

     6.                            Ultraclear is marketed as                     white marks and stains, it is

nothing more than a less-effective version of                                                  that causes the

very problem it claims to solve.

     7.         Despite all this, and despite being a diluted version thereof, Unilever sells the product for

the same price as its non- Ultraclear                            product, misleading and deceiving the buying

public into paying the same amount for an inferior product while under the false impression that it is

somehow superior.

     8.         Pursuant to the MMPA, such practice is illegal.

     9.         In addition and/or in the alternative to the above, since the initial offering of the Product,

each and every container of the Product has borne a uniformly-worded label falsely claiming the Product
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                               /or                           uniformly-worded false statements give rise

to additional and/or alternative claims on behalf of a nationwide class of similarly-situated consumers.

                    II.        PARTIES, JURISDICTION, AND VENUE

     10.       Plaintiff Dan Crepps is a citizen and resident of Jefferson County, Missouri.

     11.       Plaintiff brings this First Amended Class Action Petition individually and on behalf of a

putative nationwide class of all United States consumers and, additionally or alternatively, a putative

class of Missouri residents.

     12.       Defendant Conopco, Inc. d/b/a                                              is a New York

corporation having its principal place of business at 700 Sylvan Ave., Englewood Cliffs, NJ 07632.

Unilever may be served at: CT Corporation System, 120 South Central Ave., Clayton MO 63105.

     13.       Defendant Unilever advertises, distributes, markets and sells                     -branded,



     14.       The true names and capacities of the Defendants sued herein as DOES 1 through 10,

inclusive, are currently unknown to Plaintiff, who therefore sues such Defendants by fictitious names.

Each of the Defendants designated herein as a DOE is legally responsible for the unlawful acts alleged

herein. If necessary, Plaintiff will seek leave of Court to amend the Petition to reflect the true names

and capacities of the DOE Defendants when such identities become known.

     15.       Venue is proper in the Circuit Court of Jefferson County, Missouri, because the Plaintiff

resides here, and a substantial part of the events or omissions giving rise to the claims in this action

occurred in this venue.

     16.       This asserted class action comports with Missouri Supreme Court Rule 52.08 and with

R.S.Mo. § 407.025(3) of the MMPA

but are so numerous that simple joinder of all individuals is impracticable. This action raises questions

of law and fact common among Plaintiffs. The claims of lead Plaintiff is typical of all
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Named Plaintiff will fairly and adequately protect                                is represented by attorneys

qualified to pursue this action. More specifically:

     17.       Class and Subclass definition: Plaintiff Dan Crepps brings this action on behalf of

himself and a nationwide class of similarly-situated persons preliminarily-1defined as follows: All

persons who purchased                -
                2   during the Class Period in the United States. In addition, and/or alternatively, Plaintiff

Dan Crepps brings this action on behalf of himself and a Missouri subclass of similarly-situated persons

defined as follows: All persons, who, within the Class Period, purchased the Product in the State of

Missouri. The Class Period begins five years prior to the date of the filing of the Original Petition filed

in this matter, July 4, 2014, and ceases upon the date of the filing of the Original Petition filed in this

matter, July 4, 2019. Excluded from the Class and Subclass are: (a) any judges presiding over this

action and members of their staffs and families; (b) the Defendants and their subsidiaries, parents,

successors, and predecessors; any entity in which the Defendants or their parents have a controlling



a managerial responsibility on behalf of the organization, (ii) whose act or omission in connection with

this matter may be imputed to the organization for liability purposes, or (iii) whose statements may

constitute an admission on the part of the Defendants; (d) persons who properly execute and file a timely



representatives, successors, or assigns of any such excluded persons; and (g) any individual who assisted

or supported the wrongful acts delineated herein.

     18.       Numerosity: Upon information and belief, the Class and Subclass includes tens of

thousands, if not hundreds of thousands, of individuals on a statewide basis, making their individual

1 Plaintiff reserves the right to propose, as needed, any different or other more- or less-specific class,
classes, subclass, or subclasses as Plaintiff deems appropriate for purposes of class certification.
2
  As that term and label is defined in greater detail infra.
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joinder impracticable. Although the exact number of Class and Subclass members and their addresses

are presently unknown to Plaintiff, they are

      19.       Typicality                                                       and Subclass because all

                                                                                      using misleading and

deceptive marketing and advertising in offering and selling the Product to Plaintiffs.

      20.       Adequacy:        Plaintiff Dan Crepps is an adequate representative of the Class and/or

Subclass because his interests do not conflict with the interests of the Class or Subclass members he

seeks to represent, he has retained competent and experienced counsel, and he intends to prosecute this

action vigorously. The interests of the Class and Subclass will be protected fairly and adequately by

Plaintiff and his counsel.

      21.       Commonality: Common questions of law and fact exist as to all Class and Subclass

members and predominate over any questions affecting only individual members, such as: (a) whether

the Defendant used deceptive or misleading marketing and advertising in selling the Product; (b)

whether and to what extent the Class and Subclass members were injured                               illegal

conduct; (c) whether the Class and Subclass members are entitled to compensatory damages; (d)

whether the Class and Subclass members are entitled to punitive damages; (e) whether the Class and

Subclass members are entitled to declaratory relief; and (f) whether the Class and Subclass members are

entitled to injunctive relief.

      22.       Superiority: This class action is appropriate for certification because class proceedings

are superior to all other available methods for the fair and efficient adjudication of this controversy. The

damages suffered by the individual Class and Subclass members will likely be small relative to the



wrongful conduct. Thus, it would be extremely difficult for the individual Class and Subclass members

to obtain effective relief. A class action presents far fewer management difficulties and provides the
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benefits of a single adjudication, including economies of time, effort, and expense, and uniformity of

decisions.

                                      III.   BACKGROUND

       23.         Defendant manufactures, distributes, and/or sells the product at issue herein,        -



       24.                                                      Degree

manufactures and distributes, inter alia,            -

antiperspirant.

       25.               Ultraclear                                 as being superior to non-

             -                         antiperspirant purportedly for having         -
                                                                     3
                 s clothes against white marks

       26.         The

all of which have the same ingredients and are substantially similar to be considered collectively in this




       27.         The packaging of the Product makes at least two such claims:




3   https://www.degreedeodorant.com/us/en/men/ultraclear-bw-ocean-air-antiperspirant-stick.html

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                      a.

     28.                         Ultraclear                    ed               -Y



     29.       However, the active ingredient in the Product is Aluminum Zirconium Tetrachlorohydrex

GLY. It has long been recognized, and is well-accepted,

clothing is caused, at least indirectly, by aluminum in antiperspirants (generally upon being mixed with



     30.       While the Product might in fact cause less staining than the                   MotionSense

product and/or other antiperspirants on the market, it is irrefutable that the Product will inevitably lead

and contribute to more staining on clothing than when it is not used at all.

     31.       Thus, regardless of the extent, the Product causes, at least indirectly, the exact condition

                                              that it purports t    otect against                - towards.

     32.                                      egree -branded website, www.degreedeodorant.com, in the


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                                                                     Ultraclear

advertised as                                  inter alia] stains on clothing         bl

https://www.degreedeodorant.com/us/en/men/ultraclear-bw-ocean-air-antiperspirant-stick.html

     33.        Moreover, in the same section of                         Product is promoted as follows:

                 Some antiperspirant deodorants mix with body oils and create stains. Not this

                one. With a stain-minimizing formula, clothes are protected against white marks

                and yellow stains.

     Id.

     34.        As shown, in multiple instances, Unilever promotes the Product as

                -

                                                                       exactly what its active ingredient,

Aluminum Zirconium Tetrachlorohydrex GLY, does to create stains.

     35.

causes both.

     36.        Rather than constituting a superior product relative to the non-                           -

                                                            -                     -

the Product has essentially the same ingredients, with no added

     37.                                             -branded website, www.degreedeodorant.com, and

confirmed by corresponding product packaging, both the Product and the non- Ultraclear

                line contain the following ingredients:

                       a. Active Ingredient: Aluminum Zirconium Tetrachlorohydrex GLY

                       b. Inactive Ingredients:

                               i. Cyclopentasiloxane, Stearyl Alcohol, PPG-14 Butyl Ether, Fragrance

                                     (Parfum), Hydrogenated Castor Oil, PEG-8 Distearate, Caprylic/Capric
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                                  Triglyceride, Sodium Starch Octenylsuccinate, Hydrated Silica,

                                  Maltodextrin, Gelatin Crosspolymer, Hydrolyzed Corn Starch, BHT,

                                  Silica, Cellulose Gum.

         38.    The only difference in the Product is that it contains Polyethylene, whereas the non-

                                                                         Talc. Upon information and belief




         39.    Moreover, while removing Talc may have a negligible affect on the white-marking

quality of the Product versus the non-



         40.    Other than those minimal changes, the only other difference between the Product and the

non- Ultraclear                                             Aluminum Zirconium Tetrachlorohydrex GLY, is

diluted from 19.2% (in the non- Ultraclear

         41.    Such dilution of an active ingredient

         42.    Rather, the dilution of an active ingredient more likely simply reduces the effectiveness

                                                                                 - Ultraclear

line.

         43.    And that deceptive fact is in addition to the worse reality that the Product causes what it

                                                              white marks; upon testing, the Product readily

creates white marks upon clothing of all colors.

         44.                     -                            anti-white marks

         45.    Merriam-                                                                          inter alia,




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                                                                                      4   the Product, containing

ingredients that cause staining and white marks (even if to a lesser extent than other products), is

unquestionably not                                             -                   anti-

       46.      A normal consumer is unable to determine simply by reading the claims on the Product

                                                  list that it actually contains no                   against, or

                                                        .

       47.      While the fact is extremely well-established, a normal consumer also is unaware that

Aluminum Zirconium Tetrachlorohydrex GLY is a key factor (a

contributes to and, at least indirectly, causes                                                e Product purports



antiper

       48.      Moreover, whil

purchaser is unable to test that fact prior to purchasing the Product.

       49.      Upon information and belief, Defendant Unilever profits from the wide-spread practice of

selling a diluted version of its regular product for the same price as non-diluted versions.

       50.      Upon information and belief, it is cheaper for Unilever to produce the Product, a

relatively-diluted version of its regular antiperspirant, than it is to produce its non-

antiperspirant, such as the                   -                          line of antiperspirants.

       51.      Upon information and belief, Defendant Unilever deceptively and misleadingly markets

the Product as falsely                                                                                to hide the

fact from consumers that the Product is, in fact, inferior in its primary purpose, preventing perspiration,

and is cheaper to produce.

4   https://www.merriam-webster.com/dictionary/anti


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     52.      Defendant s marketing and selling of the Product by use of the aforementioned false,

deceptive, and misleading statements is illegal and prohibited under the MMPA.

           Allegations Relating Specifically to Claims of the Nationwide Class

     53.      As noted, supra, since the initial offering of the Product, each and every container of the

Product has borne a uniformly-worded label falsely claiming the Product



     54.      In reality, testing of the Product reveals the falsity of the False Claims; not only does the

Product readily leave white marks on multiple colors of clothing, when transferred to clothing from a

                                                                         ates yellow stains on clothing.

     55.      Defendant, as developer, manufacturer, and exclusive seller and distributor of the

                                                                                                   that the

Product leaves white marks and causes yellow stains.

     56.      Indeed, Defendant undoubtedly did its own testing of the Product prior to it being offered

for sale and, of necessity, such testing would have made Defendant aware that the Product leaves white

marks on clothing and causes yellow staining.

     57.      Despite this, Defendants purposely made the False Claims in order to induce the false

belief in consumers that they were purchasing a product that caused no white marks or yellow stains on



     58.      Plaintiff and the class members purchased the Product with no reason to suspect or know

that the Product actually caused white marks and yellow stains.

     59.      Defendant possessed specialized knowledge regarding the data and information

concerning the chemical formula of the Product and whether the Product would, in fact, cause yellow



     60.      In fact, in regard to the aspect of the False Claims relating to yellow staining, the Product
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is a credence good because

or verified by the consumer at the time of purchase.

     61.       In purchasing the Product, Plaintiff and the class members had no choice but to

necessarily and justifiably rely upon the False Claims as accurate.

     62.       Had Plaintiffs known that the False Claims were false, Plaintiffs would not have

purchased the Product or would not have paid as much for the Product.

     63.       As the direct and proximate result of the False Claims, Plaintiff and the class members

have suffered economic injury by being deprived of the benefit of the bargain they were promised by

Defendant.

     64.       By marketing, selling and distributing the Product to purchasers in Missouri and

throughout the United States, Defendant made actionable stat



and/or contribute to white marks and yellow stains.

     65.       Defendant engaged in the above-described actionable statements, omissions and

concealments with knowledge that the representations were false and/or misleading, and with the intent

that consumers rely upon such concealment, suppression and omissions.

     66.       Alternatively, Defendant was reckless in not knowing that the False Claims were false

and misleading at the time they were made.

     67.       As the distributor, marketer, producer, manufacturer, and seller of the Product, Defendant

possessed specialized knowledge regarding the data and information concerning the chemical formula of

the Product which the Plaintiff and the class members could not and did not review.

     68.

Such claims do not seek to impose any additional or different obligations beyond those already required

by such FDA regulations.
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      69.                                            inter alia,

symbols which are not regulated by the Nutrition Labeling and Education Act.

                   Facts Particular to Dan Crepps and Representative of the Proposed Class

      70.      In or around July of 2019,

Product on www.degreedeodorant.com, Plaintiff visited a retail outlet for Unilever products, particularly

Walgreens.

      71.      While there, Plaintiff observed that the Product was being sold for the same price as

            Degree -                            antiperspirant.

      72.      Due     to   the   claims   on     the    packaging   as   well   as   the   statements   on

www.degreedeodorant.com, Plaintiff falsely believed he was purchasing a product that was equally



stains; Plai



      73.      Plaintiff thereafter purchased the Product.

      74.      At the time he purchased the Product, Plaintiff was unaware of the falsity of

claims and/                            s online claims regarding the Product.

      75.      If Plaintiff had been

regarding the Product, he would not have bought the Product.

      76.      When Plaintiff purchased the Product, he was injured by Defendant

false, and misleading conduct in marketing and selling the Product.

      77.      Although the aforementioned facts apply to named Plaintiff, for purposes of the proposed

Class and Subclass, all that is relevant is that Plaintiff and the class members, United States and

Missouri citizens, purchased the Product at a time within the Class Period while in the United States

and/or Missouri.
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                                        CAUSES OF ACTION

                      COUNTS RELATING TO THE NATIONWIDE CLASS

COUNT ONE: BREACH OF WARRANTY

     78.       Plaintiff hereby incorporates by reference and re-alleges each allegation set forth in each

preceding paragraph of this First Amended Petition.

     79.       Defendant sold the Product in its regular course of business. Plaintiff and the class

members purchased the Product.

     80.       Defendant made promises and representations in an express warranty provided to all

consumers, namely the False Claims --                          nti

     81.       The False Claims became the basis of the bargain between the Defendant and Plaintiff

and each class member.

     82.       Defendant gave these express warranties to Plaintiff and each class member in written

form on the labels of the Product.

     83.

a written warranty.

     84.       Defendant breached the warranty because the False Claims were false         the Product in

fact causes white marks and yellow stains.

     85.       The False Claims were false when the sales took place and were undiscoverable to

Plaintiff and the class members at the time of purchase.

     86.       All conditions precedent to seeking liability under this claim for breach of express

warranty have been performed by or on behalf of Plaintiff and the class in terms of paying for the

Product. Defendant had actual notice of the false labeling information and to date has taken no action to

remedy its breach of express and implied warranty.

     87.       Defendant previously knew or should have known of the falsity of the False Claims on
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the Product due to, inter alia,

      88.        Defendant has nonetheless refused to remedy such breaches.

      89.        By placing the Product in the stream of commerce, and by operation of law and the facts

alleged herein, Defendants also impliedly warrantied to Plaintiff and the class members that the Products

were accurately labeled in conformance with the law.

      90.                                                                          ass members to suffer

injuries, paying for falsely labeled products, and entering into transactions they otherwise would not



warranty, Plaintiff and class members have suffered damages and continue to suffer damages, including

economic damages in terms of the difference between the value of the product as promised and the value

of the product as delivered.

      91.                                                         ranties, Plaintiff and class members are



relied as deemed appropriate, in an amount sufficient to compensate them for not receiving the benefit

of their bargain.

COUNT TWO: BREACH OF IMPLIED CONTRACT (IN THE ALTERNATIVE)

      92.        Plaintiff repeats and reallege the allegations set forth in the preceding paragraphs as if

fully set forth herein.

      93.        By operation of law, there existed an implied contract for the sale of the Product between

Defendant and Plaintiff and each class member who purchased the Product.

      94.        By operation of law, there existed an implied duty of good faith and fair dealing in each

such contract.

      95.        By the acts alleged herein, Defendant has violated that duty of good faith and fair

dealing, thereby breaching the implied contract between Defendant and each class member.
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      96.       As a result of that breach, Plaintiff and each class member suffered damages.

COUNT THREE: UNJUST ENRICHMENT

      97.       Plaintiffs repeat and reallege the allegations set forth in the preceding paragraphs as if

fully set forth herein.

      98.       Plaintiffs plead their claim for relief in the alternative to the contract claims set forth

above.

      99.       Plaintiff and the class members have conferred substantial benefits on Defendant by

purchasing the Product, and Defendant has knowingly and willfully accepted and enjoyed those benefits.

      100.      Defendant either knew or should have known that the payments rendered by Plaintiff and

the class members were given and received with the expectation that the Product would be as

represented and warranted.       For Defendant to retain the benefit of the payments under these

circumstances is inequitable.

      101.      Through deliberate misrepresentations or omissions in connection with the advertising,

marketing, promotion, and sale of the Products, including the False Claims, Defendant reaped benefits,

which result in Defendant wrongfully receiving profits.

      102.                                                            -gotten gains.   Defendant will be

unjustly enriched unless Defendant is ordered to disgorge those profits for the benefit of Plaintiff and the

class members.

      103.

Plaintiffs and the class members are entitled to restitution from Defendant and institution of a

constructive trust disgorging all profits, benefits, and other compensation obtained by Defendant through

this inequitable conduct.




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                      COUNTS RELATING TO THE MISSOURI SUBCLASS

COUNT FOUR: VIOLATION OF THE MMPA                         Misleading, False, and Deceptive Marketing

        104.   Plaintiff hereby incorporates by reference and re-alleges each allegation set forth in each

preceding paragraph of this Petition, as though fully set forth herein.

        105.                      complained of herein occurred in and emanated from the State of

Missouri.

        106.

those terms are defined under the MMPA.

        107.                                                              the Product constitutes deception,

false pretense, misrepresentation, unfair practice, or, at a minimum, the concealment, suppression, or

omission of a material fact in violation of the Missouri Merchandising Practices Act, Mo. Rev. Stat.

chap.                  , in particular, Defendant marketed the Product by falsely claiming



        108.

deceived that the Product they were purchasing contained the claimed benefits and that it          otected

and/or prevent against conditions it actually contributes to and indirectly and directly causes.

        109.

within the meaning of the MMPA. In particular, Plaintiff and the class paid for a Product that did not, in

fact, contain the benefits claimed                          protect                           the conditions

Defendant purports it did; the Product was not

        110.   Due to Defendant s illegal conduct, Plaintiffs are entitled to restitution of all funds

improperly obtained by Defendant.

        111.   In addition, Defendant s conduct as aforesaid was wanton, willful, outrageous, and in

reckless indifference to the rights of Plaintiffs and others similarly situated and, therefore, warrants the
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imposition of punitive damages.

     112.       Plaintiffs have been forced to hire attorneys to enforce their rights under the MMPA.

COUNT FIVE: INJUNCTIVE RELIEF

     113.       Plaintiff hereby incorporates and adopts by reference each and every allegation set forth

above.

     114.       Defendant continues to retain payment made by Plaintiff and other members of the Class

for the Product that is the result of Defendant s deceptive and misleading marketing in violation of the

MMPA.

     115.       Applicable law, including R.S. Mo. § 407.025, permits the Court to enter injunctive relief

to prevent Defendant s continued violation of the law by continuing to falsely state that the Product

                              against white marks and/or yellow staining.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for an order certifying this action as a Nationwide class action,

along with a Missouri subclass, and appointing Plaintiff Dan Crepps as Class and Subclass

representative and his counsel as class counsel. Plaintiff requests that this court find that the Defendant

is liable pursuant to the aforementioned nationwide claims; and/or violated the MMPA, and award



relief as the Court deems just.

                                                                    Respectfully submitted,

                                                                    DANIEL F. HARVATH, ESQ.
                                                                    By: /s/ Daniel F. Harvath
                                                                    Daniel F. Harvath, #57599MO
                                                                    HARVATH LAW GROUP, LLC
                                                                    75 W. Lockwood, Suite #1
                                                                    Webster Groves, MO 63119
                                                                    (314) 550-3717
                                                                    dharvath@harvathlawgroup.com
                                                                    Attorney for Plaintiff
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